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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

                                             :
EDWIN JONATHAN JONES
                                             :

       v.                                    :     Civil Action No. DKC 09-2922
                                                   Criminal Case No. DKC 08-529
                                             :
UNITED STATES OF AMERICA
                                             :

                                   MEMORANDUM OPINION

       Presently pending and ready for resolution is the pro se

motion by Petitioner Edwin Jonathan Jones to vacate, set aside,

or correct his sentence pursuant to 28 U.S.C. § 2255.                                (ECF No.

96).        The   issues    are     briefed,     and   the       court    now     rules,     no

hearing being deemed necessary.                    Local Rule 105.6.                 For the

reasons that follow, the motion will be denied.

I.     Background

       On    November      17,     2008,    Petitioner       –    along       with    several

others – was charged a multi-count indictment with being an

accessory after the fact to an armed bank robbery.                               Pursuant to

a written plea agreement dated December 15, 2008, Petitioner

waived indictment and pled guilty to a two-count information

charging him with being an accessory after the fact to armed

bank robbery and conspiracy to commit money laundering.                               On June

1,     2009,      the     court     sentenced       Petitioner           to     96    months’

imprisonment,           followed    by     three    years’        supervised         release.
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Petitioner     did    not   appeal.     Instead,    on   September    4,   2009,

Petitioner filed a “motion to dismiss with prejudice for Fourth

Amendment and Fifth Amendment violation” (ECF No. 93), which was

denied as untimely on September 21, 2009 (ECF No. 94).

        Petitioner filed the instant § 2255 motion on November 4,

2009, which he supplemented on November 30, 2009.                 (ECF Nos. 96

& 100).       The government opposed the motion on March 12, 2010.

(ECF    No.   111).     Although      Petitioner   sought   and   received     an

extension of time to respond to the government’s opposition (ECF

Nos. 112 & 113), he never filed a reply.

II.     Standard of Review

        Title 28 U.S.C. § 2255 requires a petitioner to prove, by a

preponderance of the evidence, that “the sentence was imposed in

violation of the Constitution or laws of the United States, or

that the court was without jurisdiction to impose such sentence,

or that the sentence was in excess of the maximum authorized by

law.”      A pro se movant is, of course, entitled to have his

arguments reviewed with appropriate consideration.                   See Gordon

v. Leeke, 574 F.2d 1147, 1151-53 (4th Cir. 1978).                  But if the

Section 2255 motion, along with the files and records of the

case, conclusively shows that he is not entitled to relief, a

hearing on the motion is unnecessary and the claims raised in

the motion may be dismissed summarily.             28 U.S.C. § 2255(b).

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III. Analysis

     Petitioner    seeks      relief   on   the       following     four        grounds:

(1) inadequate    representation       by   counsel       due      to     insufficient

lawyer/client contact and failure to appoint an investigator;

(2) violation     of    his     Fourth      Amendment         rights         based     on

purportedly   unreasonable      searches        and   seizure      of     his   person,

home, and personal items; (3) violation of his Fifth Amendment

rights based on lack of probable cause supporting his seizure

and compelled self-incrimination; and (4) lack of jurisdiction

by the district court.          (ECF No. 96, at 5-6).                   As set forth

below, none of Petitioner’s challenges have merit.

     A.   Ineffective Assistance of Counsel

     Petitioner’s      ineffective     assistance        of     counsel       claim    is

governed by the two-step standard adopted by the Supreme Court

in Strickland v. Washington, 466 U.S. 668 (1984).                           The Fourth

Circuit explained this test as follows:

          The defendant bears the burden of proof as
          to both prongs of the standard. First, the
          defendant    must    show    that    counsel’s
          representation   fell   below   an   objective
          standard of reasonableness as measured by
          prevailing   professional   norms.       Courts
          should be deferential in this inquiry, and
          have a strong presumption that counsel’s
          conduct falls within the wide range of
          reasonable professional assistance.         The
          defendant   must   therefore    overcome    the
          presumption that the representation might be
          considered sound trial strategy.

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              Second, the defendant must demonstrate that
              counsel’s inadequate performance prejudiced
              him.     Thus, the defendant must show a
              reasonable    probability   that,   but  for
              counsel’s unprofessional errors, the result
              of the proceeding would have been different.
              A   reasonable   probability,  in  turn,  is
              defined as a probability sufficient to
              undermine confidence in the outcome.

United      States       v.    Luck,    611   F.3d    183,    186    (4th     Cir.      2010)

(internal      citations         and    quotation     marks    omitted).           In     the

context of a § 2255 motion challenging a conviction following a

guilty      plea,    a    petitioner      generally     establishes         prejudice      by

demonstrating “a reasonable probability that, but for counsel’s

errors, he would not have pleaded guilty and would have insisted

on going to trial.”              Hill v. Lockhart, 474 U.S. 52, 59 (1985);

accord United States v. Mooney, 497 F.3d 397, 401 (4th                                    Cir.

2007).

       Although          the    allegations       supporting         his      ineffective

assistance of counsel claim are sparse, Petitioner appears to

contend that his court-appointed attorney erred by not spending

adequate time with him and by failing to hire an investigator.

(ECF No. 96, at 5).              These arguments fail for several reasons.

First, Petitioner provides only conclusory allegations regarding

his counsel’s ineffectiveness, contrary to Strickland’s mandate

that    a    petitioner        must     “identify     the    acts    or     omissions      of

counsel      that    are       alleged     not   to   have    been      the    result      of

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reasonable professional judgment.”                     Strickland, 466 U.S. at 690.

Courts    facing     similarly        sparse    allegations              in    habeas    corpus

petitions have concluded that a claim for ineffective assistance

of counsel may fail on that basis alone.                            See, e.g., Nickerson

v.    Lee,   971    F.2d      1125,   1136     (4th         Cir.    1992)      (holding       that

“[u]nsupported,            conclusory         allegations”                of        ineffective

assistance are subject to dismissal), abrogated on other grounds

by Gray v. Netherland, 518 U.S. 152 (1996); Wagner v. United

States, 377 F.Supp.2d 505, 509 (D.S.C. 2005) (explaining that

“[m]ere      conclusory         allegations        in       support       of    a    claim     of

ineffective assistance of counsel are insufficient to raise a

constitutional issue”), appeal dismissed, 146 F.App’x 701 (4th

Cir. 2005).

       Second, the record evidence – including Petitioner’s own

sworn     testimony       –   directly       contradicts            his       allegations      of

ineffective assistance.               In the plea agreement he signed on

December 15, 2008, Petitioner affirmed that he was “completely

satisfied” with the representation of his attorney.                                   (ECF No.

55, at 7).         At the plea hearing, Petitioner made several sworn

statements     about      the     performance          of    his    attorney,        including:

(1) that he had met with counsel a few times (“more than two or

three”); (2) that counsel always had the time Petitioner thought

was   necessary      to    talk    about     the       case;       (3)   that    counsel      had

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answered all of his questions, and (4) that he was satisfied

with the help provided by counsel.                        (ECF No. 111-1, at 34-35).

“[I]n the absence of extraordinary circumstances, allegations in

a § 2255 motion that directly contradict the petitioner’s sworn

statements made during a properly conducted Rule 11 colloquy are

always     palpably      incredible          and   patently      frivolous         or   false.”

United States v. Lemaster, 403 F.3d 216, 221 (4th Cir. 2005)

(quotation      marks       and    citations       omitted);       see      also    Fields    v.

Attorney       Gen.    of    Md.,      956    F.2d       1290,   1299    (4th      Cir.    1992)

(“Absent       clear    and       convincing       evidence       to     the     contrary,    a

defendant is bound by the representations he makes under oath

during a plea colloquy.”).

       Finally, without any indication as to what benefit would

have resulted from additional time with counsel, or what facts

or     legal    theories          an    investigator          might      have      developed,

Petitioner cannot establish either the unprofessional conduct or

the actual prejudice prong of Strickland.                             Most significantly,

Petitioner fails to allege or show the reasonable probability

that, but for his counsel’s purported errors, he would not have

pled     guilty       and    would      have       insisted      on     going      to     trial.

Accordingly, Petitioner’s § 2255 motion must be denied to the

extent     it    seeks      relief      based      on     ineffective        assistance       of

counsel.

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        B.        Other Grounds For Relief

        Petitioner’s remaining challenges require little comment.

With respect to his conclusory allegations regarding purported

violations         of        his    Fourth      and   Fifth        Amendment    rights,        such

arguments are procedurally barred.                            The ordinary rule is that

“an error can be attacked on collateral review only if first

challenged on direct review.”                      United States v. Harris, 183 F.3d

313, 317 (4th Cir. 1999); see also United States v. Sanders, 247

F.3d     139,          144     (4th      Cir.    2001)        (“[H]abeas       review    is      an

extraordinary remedy and will not be allowed to do service for

an   appeal.”)           (internal           quotation       marks     omitted).        Where    a

petitioner has procedurally defaulted a constitutional claim by

failing       to       raise       it    on     direct       appeal,    the    claim    may      be

considered for the first time in a § 2255 motion only upon a

showing of either “cause and actual prejudice resulting from the

errors       of    which       he       complains,”      or    a     demonstration      that    “a

miscarriage of justice would result from the refusal of the

court to entertain the collateral attack.”                                 United States v.

Mikalajunas, 186 F.3d 490, 492–93 (4th Cir. 1999).

        A showing of cause for a procedural default “must turn on

something external to the defense, such as the novelty of the

claim        or    a     denial         of    effective        assistance       of     counsel.”

Mikalajunas, 186 F.3d at 493.                         To establish actual prejudice,

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the petitioner must show that the error worked to his “actual

and   substantial    disadvantage,”     rather     than    merely     creating     a

possibility of prejudice.        Murray v. Carrier, 477 U.S. 478, 494

(1986).     To establish that a miscarriage of justice would result

if    the   procedurally    defaulted   claim     is   not       considered,      the

petitioner “must show actual innocence by clear and convincing

evidence” — in other words, “actual factual innocence of the

offense of conviction, i.e., that petitioner did not commit the

crime of which he was convicted[.]”              Mikalajunas, 186 F.3d at

493, 494.

       Here,   Petitioner      was   required     to      raise     any    alleged

violations of his Fourth and Fifth Amendment rights on direct

appeal.      Because he failed to do so,1 he bears the burden of

showing either (1) cause and actual prejudice resulting from the

alleged violations or (2) that he is actually innocent of the




       1
       In his motion, Petitioner represents that he “had no
knowledge of appeal being available” and that, upon denial of
his untimely motion to dismiss, “the next printed direction was
for Defendant to receive and return forms to 28 U.S.C. § 2255.”
(ECF No. 96, at 4).    Here again, Petitioner’s allegations are
contradicted by the record.         At sentencing, the court
specifically advised Petitioner as follows: “You waived some of
your appeal rights, Mr. Jones, as part of your plea agreement,
but if you want to appeal, it must be noted in writing within 10
days of today, so talk that over promptly with [your attorney]
so he could help you by filing the appeal if that’s what you
desire to do.” (ECF No. 111-2, at 28; see also ECF No. 77).
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crimes for which he stands convicted.                Petitioner makes no such

showing, precluding consideration of his constitutional claims.

      Finally, Petitioner’s challenge to the court’s jurisdiction

is patently frivolous.               This argument is apparently based on

some notion that the United States did not own the property on

which the crime was committed or that the United States Attorney

did not have the authorization of the Attorney General to submit

evidence    to    the   grand    jury.       These   allegations     are   largely

incoherent and are wholly insufficient to question the district

court’s jurisdiction over Petitioner’s criminal case, which was

premised on 18 U.S.C. § 3231.

IV.   Conclusion

      For the foregoing reasons, the motion to vacate, set aside,

or correct his sentence pursuant to 28 U.S.C. § 2255 will be

denied.

      Pursuant to Rule 11(a) of the Rules Governing Proceedings

Under 28 U.S.C. §§ 2254 or 2255, the court is also required to

issue or deny a certificate of appealability when it enters a

final     order   adverse       to    the   applicant.      A     certificate     of

appealability is a “jurisdictional prerequisite” to an appeal

from the court’s earlier order.               United States v. Hadden, 475

F.3d 652, 659 (4th Cir. 2007).               A certificate of appealability

may issue “only if the applicant has made a substantial showing

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of   the    denial    of      a    constitutional      right.”        28    U.S.C.

§ 2253(c)(2).     Where the court denies petitioner’s motion on its

merits, a prisoner satisfies this standard by demonstrating that

reasonable    jurists      would    find   the   court’s    assessment     of     the

constitutional claims debatable or wrong.                  Slack v. McDaniel,

529 U.S. 473, 484 (2000); see also Miller-El v. Cockrell, 537

U.S. 322, 336-38 (2003).             Upon its review of the record, the

court finds that Lawal does not satisfy the above standard.

      A separate Order will follow.



                                                 /s/
                                       DEBORAH K. CHASANOW
                                       United States District Judge




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